 Case 1:16-cv-00537-KJM Document 1 Filed 09/30/16 Page 1 of 11   PageID #: 1




CHEE MARKHAM & FELDMAN
Attorneys At Law

GREGORY K. MARKHAM 3453-0
BRANDON Y. MORIKI                10507-0
2700 American Savings Bank Tower
1001 Bishop Street
Honolulu, Hawaii 96813
Telephone: (808) 523-0111
Facsimile: (808) 523-0115
Email:      gmarkham@cheemarkham.com
            bmoriki@cheemarkham.com


HAYES SCOTT BONINO ELLINGSON & McLAY, LLP
Attorneys At Law

ROBERT S. McLAY (Pro hac vice application in process)
JOSHUA N. KASTAN (Pro hac vice application in process)
203 Redwood Shores Parkway, Suite 480
Redwood City, California 94065
Telephone: (650) 637-9100
Facsimile: (650) 637-8071
Email:       rmclay@hayesscott.com
             jkastan@hayesscott.com

Attorneys for Plaintiff
USAA LIFE INSURANCE COMPANY

               IN THE UNITED STATES DISTRICT COURT

                      FOR THE DISTRICT OF HAWAII

USAA LIFE INSURANCE                   Civil No.:
COMPANY, a Texas Corporation,         [(Contract)
              Plaintiff,
                                      COMPLAINT IN INTERPLEADER
     vs.
 Case 1:16-cv-00537-KJM Document 1 Filed 09/30/16 Page 2 of 11           PageID #: 2




ESTATE OF GAYLE B. GARDNER;
DOROTHY GARDNER; HILLSDALE
COLLEGE, a 501(c)(3) non-profit
educational institution; WEN LEI
SASAKI; GREGORY B. GARDNER;
and THE GAYLE B. GARDNER
TRUST DATED DECEMBER 29,
2015,

                Defendants.


                      COMPLAINT IN INTERPLEADER

      COME NOW, Plaintiff USAA LIFE INSURANCE COMPANY (hereinafter

referred to as "Plaintiff"), by and through their attorneys, The Law Firm of CHEE

MARKHAM & FELDMAN, and for a cause of action against Defendants

ESTATE OF GAYLE B. GARDNER, DOROTHY GARDNER, HILLSDALE

COLLEGE, a 501(c)(3) non-profit educational institution, WEN LEI SASAKI,

GREGORY B. GARDNER and THE GAYLE B. GARDNER TRUST DATED

DECEMBER 29, 2015 (hereinafter collectively referred to as “Defendants”) set

forth, alleges and avers as follows:

                                   I.     FACTS

      1.     This is an interpleader action in which Plaintiff, as Stakeholder of the

annuity hereinafter mentioned, seeks guidance from this Court to determine the

proper beneficiaries of an annuity contract pursuant to 28 U.S.C. Section 1335.



                                          2
 Case 1:16-cv-00537-KJM Document 1 Filed 09/30/16 Page 3 of 11        PageID #: 3




      2.     Gayle Gardner (“Decedent”) obtained a flexible premium deferred

annuity (“Annuity”) from Plaintiff in 1980.

      3.     Decedent died on July 3, 2016.

      4.     At the time of Decedent’s death, the value of the Annuity was

$1,415,510.31.

      5.     During the period between the issuance of the Annuity in 1980 and

the time of Decedent’s death in 2016, Decedent changed the beneficiaries of the

Annuity on several occasions.

      6.     At the time of Decedent’s death, an endorsement to the Annuity dated

June 16, 2016 listed the following beneficiaries:

             a. Defendant Hillsdale College (“Hillsdale”);

             b. Defendant Wen Lei Sasaki (“Sasaki”);

             c. Defendant Gregory B. Gardner (“Gregory Gardner”); and

             d. Defendant The Gayle B. Gardner Trust dated December 29, 2015

                 (the “Trust”).

      7.     Decedent’s surviving spouse, Defendant Dorothy Gardner (“Mrs.

Gardner”), was not named as a beneficiary of the Annuity at the time of

Decedent’s death.

      8.     Mrs. Gardner has contested the beneficiary designations of the

Annuity.


                                         3
 Case 1:16-cv-00537-KJM Document 1 Filed 09/30/16 Page 4 of 11           PageID #: 4




      9.     Sasaki has also asserted a claim as a beneficiary to a portion of the

Annuity.

      10.    Plaintiff has maintained, and continues to maintain the Annuity.

      11.    As such, Plaintiff, acting in good faith and having no interest in the

disposition of the Annuity other than recovering the costs and reasonable attorney

fees associated with the instant action, now requests that this Court determine the

proper beneficiaries of the Annuity and any related obligations of the parties.

                               II.   THE PARTIES

      12.    Plaintiff is, and at all times mentioned in this Complaint, a Texas

corporation duly authorized to do business in Hawaii.

      13.    Decedent obtained the Annuity from Plaintiff in September 1980.

Plaintiff is informed and believes that Decedent died on July 6, 2016. At the time

of his death, Decedent was a resident of the City and County of Honolulu, State of

Hawaii.

      14.    Plaintiff is informed and believes that the Decedent’s estate,

Defendant Estate of Gayle B. Gardner (the “Estate”), is or soon will be opened in a

probate court with jurisdiction over the City and County of Honolulu, State of

Hawaii and that the situs of the Estate will be in the City and County of Honolulu,

State of Hawaii.




                                          4
 Case 1:16-cv-00537-KJM Document 1 Filed 09/30/16 Page 5 of 11            PageID #: 5




      15.    Plaintiff is informed and believes that Mrs. Gardner is a natural person

who at all relevant times was a citizen of Hawaii and a resident of the City and

County of Honolulu, State of Hawaii. Mrs. Gardner is Decedent’s surviving

spouse.

      16.    Plaintiff is informed and believes that Hillsdale is a 501(c)(3) non-

profit educational institution located in Hillsdale, Michigan and at all relevant

times was a citizen of Michigan with its principal place of business in Michigan.

Hillsdale is an educational institution to which Plaintiff is informed and believes

that Decedent intended to leave a portion of the Annuity as an endowment.

      17.    Plaintiff is informed and believes that Sasaki is a natural person who

at all relevant times was a citizen of Hawaii and a resident of the City and County

of Honolulu, State of Hawaii. Sasaki’s affiliation with Decedent is unknown.

      18.    Plaintiff is informed and believes that Gregory Gardner is a natural

person who at all relevant times was a citizen of Kansas and a resident of Douglas

County, Kansas, and the son of Decedent and Mrs. Gardner.

      19.    Plaintiff is informed and believes that the Trust is an irrevocable trust

with a situs in the City and County of Honolulu, State of Hawaii. The current

trustee(s) of the Trust are unknown.




                                          5
 Case 1:16-cv-00537-KJM Document 1 Filed 09/30/16 Page 6 of 11               PageID #: 6




                         III.   JURISDICTION AND VENUE

      20.       Statutory interpleader is appropriate pursuant to 28 U.S.C. section

1335 because there is diversity of citizenship under 28 U.S.C. section 1332(a)(1)

between at least two of the claimants (i.e., the Defendants named herein) and the

amount in controversy exceeds $500.

      21.       The value of the Annuity at the time of Decedent’s death was

$1,415,510.31. This satisfies the amount in controversy requirement for statutory

interpleader.

      22.       Plaintiff informed and believes that Mrs. Gardner and Sasaki are

citizens of Hawaii.

      23.       Plaintiff informed and believes that the Estate and the Trust were

established in the State of Hawaii.

      24.       Plaintiff is informed and believes that Hillsdale is a citizen of

Michigan.

      25.       Plaintiff is informed and believes that Gregory Gardner is a citizen of

Kansas. Accordingly, sufficient diversity exists for statutory interpleader.

      26.       Plaintiff is a business entity incorporated in the State of Texas.

      27.       Venue is proper with this Court pursuant to 28 U.S.C. section 1397

because Mrs. Gardner and Sasaki reside in and/or have a situs in the City and

County of Honolulu, State of Hawaii.


                                             6
 Case 1:16-cv-00537-KJM Document 1 Filed 09/30/16 Page 7 of 11               PageID #: 7




      28.       Venue is proper with this Court pursuant to 28 U.S.C. section 1397

because the Estate and the Trust were established in the City and County of

Honolulu, State of Hawaii.

                COUNT I (INTERPLEADER) Against All Defendants

      A. Purchase of Annuity and Designation of Beneficiaries

      29.       Plaintiff realleges paragraphs 1 through 27, inclusive, as if set forth

fully herein.

      30.       Decedent purchased the Annuity from USAA Life in 1980. At the

time of Decedent’s death, the Annuity had a value of $1,415,510.31.

      31.       When Decedent first applied for the Annuity, he designated Mrs.

Gardner as the primary beneficiary of the Annuity, with Gregory Gardner and

Gordon Gardner as contingent beneficiaries.

      32.       Decedent requested that Plaintiff change the beneficiary designations

several times between 1980 and 2016, including the following:

                a. In 1992, the beneficiary of the Annuity was changed to the

                   Gardner Family Trust dated November 2, 1989, with no contingent

                   beneficiary.

                b. As of February 2012, Mrs. Gardner was listed as the primary

                   beneficiary of the Annuity, with Gregory Gardner listed as the

                   contingent beneficiary.


                                             7
 Case 1:16-cv-00537-KJM Document 1 Filed 09/30/16 Page 8 of 11         PageID #: 8




             c. As of August 2015, Gregory Gardner was listed as the primary

                beneficiary of the Annuity, with no contingent beneficiary.

             d. As of May 2016 and as of Decedent’s death in July 2016,

                Hillsdale, Sasaki, Gregory Gardner, and the Trust were listed as

                primary beneficiaries of the Annuity, with no contingent

                beneficiary.

      B. Conflict over the Proper Beneficiary(ies) of the Annuity

      33.    Plaintiff has and continues to maintain the Annuity.

      34.    Plaintiff is informed and believes that Decedent died on or about July

3, 2016.

      35.    At the time of Decedent’s death, by endorsement dated July 16, 2016,

the Annuity listed the following beneficiaries:

             a. “$1,000,000 taxable & nontaxable, no more not less, disbursed to

                the Lt. Colonel Gayle B. Gardner Endowed Scholarship, Hillside

                [sic] College”;

             b. One-third of the remaining balance to Sasaki;

             c. One-third of the remaining balance to Gregory Gardner; and

             d. One-third of the remaining balance to the Trust.




                                          8
 Case 1:16-cv-00537-KJM Document 1 Filed 09/30/16 Page 9 of 11            PageID #: 9




      36.    On or about July 26, 2016, Gregory Gardner advised Plaintiff that he

did not believe that the beneficiary designations on the Annuity should have been

changed and that Mrs. Gardner would be contesting the beneficiary designations.

      37.    On or about July 27, 2016, through her attorney, Mrs. Gardner

advised Plaintiff that she was contesting the beneficiary designations on the

annuity.

      38.    On or about August 5, 2016, Sasaki contacted Plaintiff to claim

Sasaki’s beneficiary share of the Annuity.

      39.    Plaintiff believes that the beneficiary designations of Hillsdale and the

Trust, as well as any interest of the Estate that may exist vis-à-vis the Annuity,

have also been implicated due to the conflicting claims discussed above.

      C. Plaintiff’s Involvement in the Instant Interpleader Action

      40.    In light of the foregoing, Plaintiff cannot determine the proper

beneficiary or beneficiaries of the Annuity.

      41.    Plaintiff claims no interest in the Annuity except any costs and

reasonable attorneys’ fees that this Court deems appropriate.

      42.    Plaintiff is ready and willing to comply with any and all directives of

this Court as to the identity of the proper beneficiary or beneficiaries of the

Annuity.




                                           9
Case 1:16-cv-00537-KJM Document 1 Filed 09/30/16 Page 10 of 11              PageID #: 10




       43.     Plaintiff brings the instant Interpleader in good faith and to ensure that

the Annuity is disbursed to the proper beneficiary or beneficiaries.

       44.     Under statutory interpleader, whenever multiple claims are asserted or

may be asserted by two or more claimants, and such claims may expose a party

holding funds or property to multiple liability, a right of interpleader lies with the

stakeholder.

       45.     Absent a judicial declaration of rights of the Defendants to the

proceeds from the Annuity, Plaintiff faces the potential for multiple obligations.

Due to the conflicting demands and potential demands of Defendants, Plaintiff

seeks guidance from this Court.

       46.     At the time this Complaint is filed, or at a reasonable time thereafter,

Plaintiff shall deposit all of the funds held within the Annuity, plus an amount of

interest to be determined at filing, with the Clerk of this Court.

       47.     Plaintiff has incurred costs and reasonable attorney’s fees in

connection with these proceedings and may incur additional fees and costs

hereafter.

       WHEREFORE, Plaintiff USAA LIFE INSURANCE COMPANY, as

Stakeholder, prays for guidance from this Court and requests the following

instructions, or, in the alternative, orders:




                                            10
Case 1:16-cv-00537-KJM Document 1 Filed 09/30/16 Page 11 of 11             PageID #: 11




      1.     That this Court advise Plaintiff and Defendants, and each of them, the

identity of the proper beneficiary or beneficiaries of the Annuity and to give any

and all instructions to Plaintiff regarding the proper beneficiary or beneficiaries;

      2.     That Defendants, and each of them, be restrained from initiating any

other actions against Plaintiff relating to the subject matter of this interpleader

action;

      3.     That Plaintiff be discharged from liability to each Defendant with

respect to the subject matter of this interpleader action;

      4.     That the beneficiaries be required to interplead and litigate between

themselves their claims to the Annuity.

      5.     That Plaintiff be awarded costs and reasonable attorney fees incurred

in relation to this action; and

      6.     For such other guidance and relief as this Court deems just and

proper.

      DATED: Honolulu, Hawaii,                  September 30, 2016               .



                                              /s/ Gregory K. Markham
                                        GREGORY K. MARKHAM
                                        BRANDON Y. MORIKI
                                        Attorneys for Plaintiff
                                        USAA LIFE INSURANCE COMPANY




                                           11
